        Case 5:21-cv-00418-RDP Document 66 Filed 09/23/21 Page 1 of 4                 FILED
                                                                             2021 Sep-23 PM 04:46
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA




               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION

CENT HOLDING COMPANY,       :
LLC, and CENT CAPITAL, LLC, :
                            :
     Plaintiffs,            :
                            :
v.                          :              Case 5:21-cv-00418-RDP
                            :
                            :
WOLFRAM RESEARCH, INC., :
                            :
     Defendant.             :

                  JOINT STATUS REPORT REGARDING
                   LIMITED DISCOVERY DEADLINES

      The parties have met and conferred regarding a schedule for completing the

limited discovery ordered by the Court at the hearing held on September 2, 2021.

They submit the following agreed-upon deadlines to govern that discovery and

briefing the motions they anticipate renewing when discovery is completed.

   • Exchange limited discovery requests: September 29, 2021.

   • Exchange objections to limited requests: October 11, 2021.

   • Meet and confer regarding all objections: October 14, 2021.

   • Complete limited written discovery: October 29, 2021.

   • Complete limited depositions (if any, subject to witness availability):

      November 16, 2021.
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  • File motions: November 19, 2021.

  • Respond to motions: December 10, 2021.

  • Reply to motions: December 17, 2021.


                            Respectfully submitted,

Date: September 23, 2021    /s/ Michael T. van der Veen, /s/ Bruce L. Castor, Jr.
                            Michael T. van der Veen
                            Bruce L. Castor, Jr.
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Date: September 23, 2021    /s/ J. Thomas Richie
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                            Attorneys for Plaintiffs

Date: September 23, 2021               Respectfully submitted,

                                       WOLFRAM RESEARCH, INC.

                                       By:s/ Daniel B. Snyder
                                             One of Its Attorneys

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                        CERTIFICATE OF SERVICE

       I hereby certify that on September 23, 2021, I filed the foregoing with the
Clerk of the Court through use of the Court’s CM/ECF system will send notice of
such filing to the following:
            Floyd D. Gaines
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                                                    s/J. Thomas Richie
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